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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------X
 UNITED STATES OF AMERICA,                                            :

                                                                         : S6 09 CR 581 (WHP)
                          - v. -
                                                                         :

 PAUL M. DAUGERDAS,                                                      :

                                            Defendant.                   :

--------------------------------------------------------------------X

ELEANOR DAUGERDAS,                                                       :
PMD INVESTMENTS LLC, and
WBLG WALWORTH LLC,                                                       :

                                             Petitioners.
 --------------------------------------------------------------------X



          MEMORANDUM OF LAW OF PETITIONERS ELEANOR DAUGERDAS
          PMD INVESTMENTS LLC AND WBLG WALWORTH LLC IN SUPPORT
                      OF THEIR MOTION FOR SANCTIONS

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       This memorandum of law is submitted in support of petitioners’ motion for sanctions

pursuant to Rule 37(b)(2)(A) and (C), Federal Rules of Civil Procedure, for the government’s

violation of the Court’s July 26, 2018 (Docket No. 935) Order directing the government to

search for and produce bank records for petitioners’ use in preparing the amended petition in this

ancillary forfeiture proceeding, and pursuant to the inherent power of the Court, for the

government’s violation of its duty to preserve as evidence the unredacted bank records at issue.


                                  PRELIMINARY STATEMENT

       The Jenkins & Gilchrist (“J&G”) bank records that are the subject of this motion are

critical to resolution of the disputed issue in this proceeding, which is whether tainted tax shelter

legal fees received by the law firm J&G from the criminal defendant Paul Daugerdas’ tax shelter

clients were commingled with legal fees generated from numerous other clients of the law firm

before the payments to Paul Daugerdas that are the basis for the government’s forfeiture claim.

Having taken the position in the underlying criminal case (both in the district court and on appeal

to the Second Circuit) that there was no commingling of funds, it seems inconceivable that the

government had not issued a subpoena and obtained those key bank records (the J&G Illinois

and J&G Texas bank accounts) before making these representations: records which would once

and for all resolve this disputed contention. Yet, after the district court issued an order in this

ancillary proceeding directing the government to search for and produce the J&G bank records

for petitioners’ use in preparing the amended petition called for by the Second Circuit’s decision

reversing this Court’s dismissal of the original petition, the government failed to comply with

that order in a timely fashion – i.e., prior to the filing of the amended petition. The government

did not even proffer an explanation as to what happened to the J&G bank records that it

obviously had during the underlying criminal case. The government chose instead to force the


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petitioners to file the amended petition relying on “information and belief.” Then, ironically, the

government filed a motion to dismiss the amended petition on the ground of insufficiency of the

commingling allegations. See Declaration of James R. DeVita (Doc. No. 990, filed on May 1,

2019, in opposition to motion to dismiss amended petition) (“DeVita Dec. I”), a copy of which is

attached as Exhibit A to the Declaration of James R. DeVita, dated April 29, 2021 submitted in

support of this motion (“DeVita Dec. III”).

       After the government’s motion to dismiss was denied and discovery commenced, the

government belatedly produced to petitioners’ counsel redacted copies of J&G Illinois and J&G

Texas bank records that had been produced by J&G’s counsel (the law firm Davis Polk &

Wardwell (“DPW”)) to the government in April 2007 pursuant to grand jury subpoenas. Even

those redacted bank records make a compelling showing that the government’s longstanding

assertions in the underlying criminal case and this ancillary proceeding (that the tax shelter fees

were not commingled with other fees received by the law firm) were significantly inaccurate:

numerous payments involving a significant amount of money were made to Paul Daugerdas from

J&G bank accounts other than the J&G Illinois account, which accounts clearly contained

commingled funds. Moreover, the government has still failed to produce unredacted copies of

key J&G bank records. It advises us that it received only selected and redacted copies of the

statements from J&G and its counsel. However, the government has failed to explain why the

redacted copies of bank records in its possession at the time of the Court’s July 2018 order were

not produced for use in preparing the amended petition as required by that order. It has also

failed to explain why it did not demand production of unredacted copies of key bank records

from J&G and its counsel during the underlying investigation and criminal case, or direct J&G

and its counsel to preserve complete, unredacted copies of the statements for later use or



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comparison if that became necessary. The government concedes that it did not direct J&G’s

counsel DPW to preserve copies of the unredacted bank records. Petitioners did serve a

subpoena on Bank of America for production of the J&G bank records, but under the bank’s

standard retention period, it does not retain documents back to the time period at issue herein.

See Declaration of James R. DeVita (Doc. No. 1054-1, filed on March 18, 2021, regarding status

of discovery) (“DeVita Dec. II”). 1 Thus, we address the government’s violation of its duty to

preserve evidence.

                                           ARGUMENT

                 THE GOVERNMENT VIOLATED THE JULY 2018 ORDER
                      AND ITS DUTY TO PRESERVE EVIDENCE

       We begin our argument by addressing the duty to preserve evidence.

A. The Duty To Preserve Evidence

       The principles governing the duty to preserve evidence were summarized in a recent

federal district court decision granting sanctions for spoliation of evidence:

       Identifying the boundaries of the duty to preserve involves two related inquiries: when does
       the duty to preserve attach, and what evidence must be preserved?” Luellen v. Hodge, No.
       11 Civ. 6144 (MWP), 2014 U.S. Dist. Lexis 42527, 2014 WL 1315317, at *5 (W.D.N.Y.
       Mar. 28, 2014) (quoting Zubulake v. UBS Warburg LLC, 220 F.R.D. 212, 216 (S.D.N.Y.
       2003)). “The obligation to preserve evidence arises when the party has notice that the
       evidence is relevant to litigation or when a party should have known that the evidence may
       be relevant to future litigation.” Fujitsu Ltd. v. Fed. Exp. Corp., 247 F.3d 423, 436 (2d Cir.
       2001). The “duty to preserve extends to documents in the possession of third parties so
       long as [a party to the litigation] has control over the documents.” Luellen, 2014 U.S. Dist.
       Lexis 42527, 2014 WL 1315317, at *5. The concept of control is to be construed broadly,
       and “[d]ocuments are considered to be under a party's control if the party has the practical
       ability to obtain the documents from another, irrespective of his legal entitlement.” Ronnie
       Van Zant, Inc. v. Pyle, 270 F.Supp.3d 656, 669 (S.D.N.Y. 2017) (internal quotation marks
       & citation omitted), rev'd on other grounds, 906 F.3d 253 (2d Cir. 2018).



1
  Petitioners’ counsel is in the process of serving subpoenas on the two law firms that
represented J&G in connection with the grand jury investigation to confirm that the bank records
have, in fact, been lost. DeVita Dec. III ¶ 19. n. 2.
                                                  3
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Funk v. Belneftekhim, 2020 U.S. Dist. Lexis 8890, at * 15 (E.D.N.Y. Jan. 17, 2020).

   1. Notice and Control

       The government has known of the significance of the J&G bank records since at least

June of 2009, when it applied ex parte for a seizure warrant for financial accounts allegedly

owned or funded by Paul Daugerdas. See August 27, 2012 Declaration of AUSA Stanley J.

Okula, Jr. (Doc. No. 558) (DeVita Dec. III, Ex. J) ¶ 2. The government was well aware at the

time it applied for that warrant that some of the accounts it was seeking to seize and forfeit were

in the name of one or the other of the petitioners. Also, the government has had possession of

the redacted J&G bank statements since April 2007, when the bank records were produced by

J&G’s counsel to the government pursuant to grand jury subpoenas. The government submitted

selected, redacted pages of the J&G Illinois bank statements from that April 2007 production to

the Court as an exhibit to AUSA Okula’s August 27, 2012 declaration. Id. ¶6, Exhibit 7; DeVita

Dec. III, Ex. L.

       These two redacted pages from the December 1999 and December 2000 statements of the

J&G Illinois bank account reflected approximately $60 million in year-end payments to Paul

Daugerdas and were a critical part of AUSA Okula’s presentation in the criminal forfeiture case.

The defendant Paul Daugerdas had contended that the tax shelter fees were not segregated in the

J&G Illinois bank account but were commingled with fees generated by numerous other J&G

lawyers for services provided to their clients. See, e.g., Daugerdas’ Motion To Vacate

Restraining Order (Doc. No. 545, filed on August 8, 2012). The legal principles for tracing

tainted funds that are allegedly commingled with other funds in a bank account were well-

established in the Second Circuit long before the criminal investigation and prosecution of Paul

Daugerdas, and remained established during the prosecution and appeal in the criminal case. See



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United States v. Banco Cafetera Panama, 797 F.2d 1154, 1158-60 (2d Cir. 1986) (discussing

recognized tracing principles involving first-in first-out and first-in last-out methodologies);

United States v. Walsh, 712 F.3d 119, 124 (2d Cir. 2013) (where “some funds in a seized bank

account are traceable to criminal activity and some are not, we consult Banco Cafetera”). See

also United States v. Rothstein, Rosenfelt, Adler, P.A., 717 F.3d 1205, 1212-1214 (11th Cir.

2013) (Court upheld third-party claim under 21 U.S.C. § 853(n)(6) involving commingled funds

in a law firm’s bank account, citing among other cases, Banco Cafetero). In that context, upon

reviewing those two critical redacted year-end bank statements, any experienced prosecutor –

and AUSA Okula was most certainly an experienced prosecutor – should have recognized the

need for the complete, unredacted bank statements for December 1999 and December 2000, as

well as for the complete, unredacted statements for the prior months in those two years, for use

in the criminal case. The government had the burden of proof in the criminal forfeiture case.

Those unredacted bank statements would either establish its contention that there was no

commingling of funds, or would disprove any such notion.

       Thus, the government had notice of the significance to this forfeiture litigation of the

J&G bank records, and had control of the J&G bank records, at least as early as June 2009.

Moreover, the government introduced in evidence at the criminal trial a chart (Govt Ex 1999-21;

DeVita Dec. III Ex. O) detailing (by date, amount and name of entity) each payment by J&G to

Paul Daugerdas related entities from January 1, 1999 to November 18, 2005. The government

has stated that this chart was produced by J&G rather than being prepared by the government.

Since it was able to obtain the chart from J&G, as well as the redacted bank records, the

government plainly had the ability to obtain unredacted bank records which would show whether

or not commingling of funds occurred before each payment was made. Under the governing



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broad concept of control, once the government served its grand jury subpoenas, it had both the

practical ability to obtain the complete bank statements from J&G’s attorneys upon demand, as

well as legal entitlement to obtain the complete statements. Thus, at a minimum, the

government’s prosecutors had the ability and duty either to direct J&G and its attorneys to

preserve the complete bank records, or to obtain and preserve the records itself. Funk v.

Belneftekhim, supra, at *17-19. Yet here the government neither issued such a direction to

preserve, nor did the prosecutors obtain and preserve the unredacted bank records themselves.

       Moreover, “a party’s duty to preserve evidence goes beyond the sending of a litigation

hold notice to the individual in possession or control of evidence.” Bagley v. Yale University,

318 F.R.D. 234, 238 (D. Conn. Dec. 22, 2016). Rather, compliance with a litigation hold notice

“must be monitored”; such notice is “the first in a series of related steps necessary to ensure that

preservation.” Id. at 239 (internal citation omitted). Furthermore, where a duty to preserve

evidence has arisen, the court may grant discovery of information and documents relating to

whether the duty has been violated, including materials relating to litigation hold notices. Id. at

241, text and n. 5. We therefore seek discovery relating to violation of the duty to preserve in

support of this motion.

       The government admits that some time prior to April 2007, the same United States

Attorney’s Office for the Southern District of New York, which prosecuted this case as well as

the Ernst & Young case, served one or more grand jury subpoenas on Jenkens & Gilchrist

(“J&G”) which called for the production of the bank records relating to the receipt and

disposition of fees from Paul Daugerdas’s tax shelter clients. See March 31, 2021 letter to the

Court from AUSA Kiersten A. Fletcher (Docket No. 1059) (“Gov. Ltr.”) at 5. The April 2, 2007

cover letter from the law firm DPW to the government transmitting documents in response to the



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grand jury subpoenas, which letter the government provided in discovery, reveals that (a) the

enclosed materials were being produced pursuant to “grand jury subpoenas” (plural); (b) there

had been at least one conversation between the attorneys at DPW and the AUSA to whom the

letter was addressed regarding the scope of the subpoenas; (c) copies of the documents were

being produced to the IRS investigators simultaneously; and (d) copies of the documents had

been previously produced to the United States Attorney’s Office on disks. DeVita Dec. III Ex. I.

       The government argues that because the redacted documents it has produced in discovery

were what it received with the April 2, 2007 letter from DPW, it did not have “possession” of the

complete, unredacted bank statements. Gov. Ltr. at 6-7; see DeVita Dec. III ¶ 19. The issue,

however, is not what the government “possessed,” it is whether the government had “custody or

control” of the bank records. Accepting the government’s argument requires the illogical

conclusion that the complete, unredacted bank statements were not covered by the grand jury

subpoenas originally served on J&G. 2 Moreover, the government’s argument completely




2
  Although the government has not produced the relevant grand jury subpoenas, it is
inconceivable that they called for only redacted copies of the original documents, and selected
pages rather than the complete bank statements in question. See DeVita Dec. III ¶¶ 18-19. The
government does not even claim, in its unsworn representations, that the subpoenas only called
for redacted copies. See Gov. Ltr. at 5. Thus, the government, in its various conversations with
DPW, must have agreed to accept selected, redacted copies in lieu of the complete documents.
The problematic aspects of production of redacted documents are well-illustrated in United
States v. Zangrillo, 2020 U.S. Dist. Lexis 36364, at *7-8, 20-21, 25-28 (D.Mass. March 3, 2020)
(discussing the reasons why redacted documents produced pursuant to a Rule 17( c) subpoena in
a criminal case “simply are unworkable” in discovery and “unwieldy, if not impossible, to use at
trial”; such documents in unredacted form had been produced to the government pursuant to a
grand jury subpoena). At all events, it would be a gross breach of standard operating procedure
and fundamental principles of the duty to preserve evidence discussed herein for the government
to accept selected, redacted copies and not to direct the subpoena recipient to preserve the
complete originals for later comparison or review. See DeVita Dec. III ¶ 18.



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disregards the broad scope of the terms “custody or control” in the context of grand jury

subpoenas, as well as the venerable history of the broad scope and same meaning of that term

under civil and criminal discovery rules.

        As this Court ruled in In re Various Grand Jury Subpoenas, 235 F.Supp. 3d 472

(S.D.N.Y. 2017) (Pauley, J.):

        "The phrase, 'possession, custody or control' has a venerable history in the federal rules of
        procedure." United States v. Stein, 488 F. Supp. 2d 350, 360 (S.D.N.Y. 2007). It first
        appeared in the relevant discovery provisions of the Federal Rules of Civil Procedure, and
        subsequently was incorporated into the Federal Rules of Criminal Procedure. Stein, 488
        F. Supp. 2d at 350-51. "There is no hint in the history of these rules that the meaning of
        the phrase differs depending upon which rule is in question. To the contrary, the phrase in
        each case defines in identical language the extent of the obligation of a party subject to a
        duty to produce evidence to respond." Stein, 488 F. Supp. 2d at 351. Therefore, although
        Subject E maintains that the phrase "care, custody, or control" is inapposite in the context
        of a criminal investigation involving violations of the Bank Secrecy Act, "[c]ommon sense,
        not to mention settled principles of construction, suggests a uniform construction. Hence,
        case law under all of the relevant rules – [civil and criminal] – is equally instructive." Stein,
        488 F.Supp. 2d at 351.

In re Various Grand Jury Subpoenas, supra, 235 F.Supp. 3d at 478. This Court then held that

the test for production of documents in response to a grand jury subpoena is “‘control, not

location . . . . [C]ontrol is defined as “the legal right, authority, or practical ability to obtain the

materials upon demand.’” Id. at 478 (citations omitted). And as shown above, the term

“control” has this same uniform meaning in the correlative context of the duty to preserve

evidence.

        In sum, the documents Petitioners seek were clearly under the constructive control of the

government from at least the time when the grand jury subpoenas that precipitated the April 2,

2007 production were served on J&G.




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2. Culpable State of Mind

       The failure to comply with the duty to preserve the bank records warrants sanctions

where the party acted with a “culpable state of mind.” Under the law applicable here, this factor

includes ordinary negligence and gross negligence. Where ordinary negligence has occurred, a

showing of prejudice must also be made. Here, the failure to preserve key bank records clearly

hinders petitioners’ ability to show that the funds were commingled in J&G bank accounts.

Where gross negligence has occurred, the requisite “culpable state of mind” is satisfied and

prejudice may be presumed. Funk v. Belneftekhim, supra, at *20-26. Under the circumstances

of this case, the failure by the government to preserve the bank records would amount “at a

minimum” to ordinary negligence; and failure by the government to “issue a written litigation

hold” to J&G’s counsel would “support a finding of gross negligence.” Funk v. Belneftekhim,

supra, at *21-22. See Residential Funding Corp. v. DeGeorge Financial Corp., 306 F.3d 99,

106-113 (2d Cir. 2002) (discussing “culpable state of mind” principles, including ordinary

negligence, purposeful sluggishness, 3 gross negligence, and a range of sanctions). As the

government failed to issue a written direction to DPW to preserve the bank records, the gross

negligence standard is met.


3
 In Residential Funding, the Second Circuit ruled that “purposeful sluggishness” by a party in
responding to questions about unproduced or missing documents may support an inference that
the party was grossly negligent and that missing documents were likely harmful to the party. Id.
at 109-110. The responses there included representations that documents would be produced
without mentioning the absence of documents from the critical time period (id. at 109-10), and
statements that were “at least careless, if not intentionally misleading” regarding the “effort to
retrieve the documents” (id. at 111). Such characterizations of the government’s responses to the
district court’s order to search for and produce the bank records and its responses to petitioners’
discovery requests concerning the bank records would appear to be an apt one. See pp. 1-2,
supra, and DeVita Dec. I and DeVita Dec. II. Discovery on this motion will be needed to
resolve that issue.



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       The critical issue of the state of mind of the relevant government actors cannot be

determined on the basis of the unsworn, unsupported assertions made by the government. This is

graphically demonstrated by the government’s reliance on the Second Circuit’s observation, in

affirming Paul Daugerdas’ conviction, that:

       the J&G account from which Daugerdas was paid held only the funds received by the
       Chicago office. The trial evidence established that the entirety of the tax-shelter fee income
       received by J&G’s Chicago office—the pool of money from which Daugerdas was paid—
       was generated by Daugerdas’s criminal acts.

United States v. Daugerdas, 837 F.3d 212, 231 (2d Cir. 2016), quoted at Gov. Ltr. at 3. What the

government ignores is the fact that the Second Circuit’s holding on this point was based on a

factual misrepresentation by the government in its brief on appeal – a misrepresentation refuted

by the very redacted bank records produced in this ancillary proceeding, and a misrepresentation

likely attributable to AUSA Stanley Okula, whose indirect, unsworn representations and

explanations the government asks this Court to accept as established fact.

       In its brief on the appeal of Paul Daugerdas’ conviction, the government acknowledged

Daugerdas’ argument that the government failed to trace the tax shelter fees from the J&G

clients to Daugerdas’ PMD Chartered account, and that before the payments were made to

Daugerdas, the tax shelter fees were commingled with fees generated by hundreds of J&G

lawyers providing services for thousands of untainted client transactions. The government

disputed this contention as follows:

          Daugerdas is simply incorrect in his assertion that the money J&G paid out to
       Daugerdas was commingled with the “fees generated by hundreds of lawyers.” (Br. 38).
       To the contrary, pursuant to the agreement between J&G and the separate small J&G
       Chicago office (which Daugerdas led), all of the Chicago office’s revenues (mostly
       generated by Daugerdas’s crimes) were required to be deposited into an account
       belonging to that office, from which a portion was subsequently transferred to
       Daugerdas’s PMD Chartered account. (E.g., Docket Entry 558 Ex. 6 § 2b). Thus, no



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        client-by-client tracing was necessary to segregate the proceeds of Daugerdas’s fraud
        from J&G’s proceeds generally.
Govt Brief on Appeal, at pp. 111-12 (Doc 86, 7/1/2015).
        Significantly, the government did not argue that all of the Chicago office’s revenues

were, in fact, deposited into a separate account, as the Administrative Services Agreement

required – only that the agreement required them to be deposited. This careful, yet awkward,

wording appears intentional. It reflects recognition that the documents the government actually

possessed – as opposed to those over which it had constructive control – did not provide the

evidence necessary for a “client-by-client” tracing, or to “segregate the proceeds of Daugerdas’s

fraud from J&G’s proceeds generally.” Only complete bank statements for the entire year would

show whether the tax shelter fees were actually deposited to the J&G Ill. account, and if so, what

(if any) funds may have been subsequently transferred out to J&G Texas accounts during the

year.

        The 400 pages of J&G bank records belatedly produced by the government in this

ancillary forfeiture proceeding on November 30, 2020 show that these assertions made by the

government to the Court of Appeals were misleading in several material respects. It is not true

that all the tax shelter fees were deposited into, and remained segregated in, the J&G Illinois

bank account at the Bank of America throughout the year, and were paid to Paul Daugerdas from

that account without being commingled with the general receipts of J&G, or that all payments to

Paul Daugerdas came from the J&G Ill. account. In fact, payments to Paul Daugerdas were

made from five different J&G bank accounts (three J&G Texas bank accounts, and two J&G

Illinois bank accounts). DeVita Dec. II ¶ 5; DeVita Dec. III ¶ 13; see DeVita Dec. II, Ex. A

(Docket No. 1054-1). In fact, of the 298 separate payments to Paul Daugerdas cited by the

government for forfeiture from January 1999 through December 2003 (Govt Ex 1999-21), only


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five of the payments were made from the J&G Illinois bank account at the Bank of America.

Indeed, most of the payments were made from three J&G Texas bank accounts. In addition to

the two year-end payments cited by the government, it appears that only three other payments

came from the J&G Illinois bank account at the Bank of America. There are no payments to

Paul Daugerdas from a J&G Illinois bank account after 2001. See DeVita Dec. II, ¶ 5, Ex. A.

       Furthermore, while the Administrative Services Agreement stipulated that the tax shelter

fees be deposited to a J&G Ill. account, the government did not prove that J&G, in fact, actually

followed that requirement in practice. Furthermore, only the complete statements for the J&G

Ill. account for the full years in question would show whether the tax shelter fees remained

segregated in that account for the remainder of the year until used to make year-end payments to

Paul Daugerdas, as the government contends. Even if all of the tax shelter fees were deposited in

the J&G Ill. account in the first instance, the evidence produced by the government does not

preclude the possibility that those tax shelter fees were transferred to other J&G accounts for use

in payment of operating expenses during the course of the year, with other untainted J&G funds

being returned to the J&G Illinois account as needed to make the year-end payments to Paul

Daugerdas.

       The government made the above-quoted representations in its brief to the Second Circuit

about all of the tax shelter fees being deposited to and segregated in the J&G Illinois account

without having any bank records showing the dates and amounts of actual deposits of the tax

shelter fees to any of the J&G bank accounts, let alone the dates and amounts of any such

deposits to the J&G Illinois bank account at the Bank of America on which its argument hinges;

nor did it have any bank records reflecting the dates and amounts of whatever transfers may have

been made between that J&G Illinois bank account and other J&G bank accounts. See DeVita

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Dec. II, ¶ 7. Moreover, in response to the interrogatories in this proceeding, the government has

objected and refused to answer questions as to whether all or only some of the tax shelter fees

were deposited to the J&G Illinois bank account, and refused to provide any identification of

deposits of the tax shelter fees. DeVita Dec. II, ¶ 8.

       In its letter to the Court opposing petitioners’ request for permission to make this motion

for sanctions, the government sought to avoid discovery on this motion by making bare factual

assertions regarding AUSA Okula’s unsworn attempt to explain how or why he was able to use

redacted pages from the year-end statements of the J&G Ill. account at the Bank of America in

the criminal forfeiture case (which were part of the 400 page production of redacted bank records

made by J&G’s law firm to the government pursuant to grand jury subpoena in April 2007)

without learning about the April 2007 production of bank records. The government admits that

AUSA Okula was involved in the government’s search for the bank records following this

Court’s July 2018 order. According to the government, AUSA Okula “did not seek the J&G

Illinois Records, via subpoena or other request, as part of the criminal case, and did not recall

having ever reviewed them.” Gov. Ltr. at 4. Not only is this statement unsworn, it strains

credibility as an attempt to explain away the government’s violation of the Court’s July 2018

order. Indeed, the government proffers no explanation whatsoever as to how AUSA Okula

obtained possession of the two redacted pages that he attached to his August 2012 declaration, let

alone how he did so without learning about the April 2007 production of a substantial number of

other J&G bank records. The government also provides no explanation as to why the search for

J&G bank records undertaken in 2020 during discovery proceedings was not done in 2018 in

compliance with the Court’s July 2018 order.




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       It is also worth pointing out that in addition to the redacted pages of the December 1999

and December 2000 J&G Ill. bank statements, the April 2007 document production by J&G’s

counsel contained other significant documents used by AUSA Okula in the criminal prosecution

of Paul Daugerdas, including: 1) the Administrative Services Agreement AUSA Okula attached

as an exhibit to his August 2012 declaration (see DeVita Dec. III ¶ 7, Exs. J, K) and which he

relied on in the above-quoted statement in the government’s Brief on Appeal; and 2) the above-

referenced chart introduced in evidence at the criminal trial (Govt Ex 1999-21; DeVita Dec. III

Ex. O) detailing (by date, amount and name of entity) each payment by J&G to Paul Daugerdas

related entities from January 1, 1999 to November 18, 2005. (See DeVita Dec. III ¶¶ 7-8, Ex. E).

       The Index to the April 2007 production (DeVita Dec. III Ex. E) also shows that the

production included numerous other documents relating to the defendant Paul Daugerdas and the

government’s key witness, Erwin Mayer, including notes of multiple interviews with both. See

DeVita Dec. III ¶ 10. In short, the factual assertion made by the government as to AUSA

Okula’s lack of recollection of ever reviewing the production that included J&G bank records is

not only unsworn, but also dubious.

       The April 2007 DPW production also contained various KPMG-related documents and

the Index to the production referred to a database containing over 3,500 KPMG-related

documents. DeVita Dec. Ex. E, Index at 2, and n. 1. AUSA Okula was part of the team of

prosecutors in the criminal prosecution of multiple KPMG partners on charges of tax shelter

fraud, which had begun before and continued after the April 2007 production. At the time, the

KPMG case received substantial attention in the SDNY in light of rulings, findings and decisions

made by Judge Kaplan on defendants’ pretrial motions. United States v. Stein, 435 F. Supp. 2d

330 (S.D.N.Y. 2006) (holding that the prosecutors had violated defendants’ constitutional rights

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to counsel and a fair trial by inducing KPMG to cut off payment of their legal fees in

contravention of its longstanding practice of advancing legal fees to its partners); United States v.

Stein, 495 F. Supp. 2d 390 (S.D.N.Y. 2007) (dismissing the criminal charges as the appropriate

remedy for the constitutional violations), aff’d, United States v. Stein, 541 F.3d 130 (2d Cir.

2008). The findings of constitutional violations were made prior to the April 2007 production,

and the dismissal of criminal charges occurred thereafter.

       The members of the prosecution team investigating Ernst & Young were part of the same

United States Attorney’s Office, and probably the same Unit within that office, as AUSA Okula

and the prosecution teams in the KPMG and J&G cases. See DeVita Dec. III ¶ 6, n. 1; ¶ 9. The

similar subject matter and overlapping nature of the three investigations must have been well

known to all the AUSAs and IRS agents involved in them. The proposition that the Ernst &

Young prosecutors who received the DPW production in April 2007 would have neglected to

bring the numerous significant documents in that production that related to KPMG and J&G to

the attention of Mr. Okula and the IRS agents working with him suggests a level of disfunction

in the United States Attorney’s Office that is highly doubtful.

       Thus, what the government representatives – both in the United States Attorney’s Office

and from the IRS – knew or should have known regarding the whereabouts and contents of the

complete, unredacted bank statements is critical to a decision of the proposed motion, and must

be explored thoroughly through discovery. The government seeks to avoid responsibility for its

violations of the Court’s July 2018 order and its duty to preserve evidence on the ground that the

April 2007 production of bank records by J&G’s counsel to the government was made pursuant

to a grand jury subpoena or subpoenas issued by an AUSA other than AUSA Okula, in a separate

but parallel and apparently overlapping investigation relating to the accounting firm Ernst &

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Young (“E&Y”), conducted by the same SDNY United States Attorney’s Office. The

government cites no authority to support its novel position – that the knowledge of prosecutors in

the same office conducting related investigations, and the IRS agents working with them, cannot

be attributed to one another.

       The government simply glides over, and asks this Court to ignore, the significant facts

that: 1) while the J&G bank records were obtained by SDNY prosecutors in the E&Y

investigation, both prosecution teams were part of the same United States Attorney’s Office, the

April 2007 production was in the possession of that office, and at least some of the documents

from the April 2007 production were shared with AUSA Okula and used in the Daugerdas

prosecution; and 2) AUSA Okula obtained possession of key redacted pages from that

production of J&G bank records and used those key pages as a critical part of his presentation in

the criminal forfeiture case against Paul Daugerdas.

       A careful review of the “bates numbers” on the Administrative Services Agreement and

wire transfer records AUSA Okula attached as exhibits to his August 2012 declaration confirms

that they came from the April 2007 production, see DeVita Dec. III ¶¶ 5, 7; Exs. K, L. In fact,

the two redacted pages from the December 1999 and 2000 statements for the J&G Ill. account he

used came from the same batch of documents consisting of approximately 400 pages of selected

and redacted bank records from five different J&G accounts, including documents demonstrating

payments to Paul Daugerdas from three different J&G Texas accounts. Including the latter

records with his declaration, however, would have undercut – even refuted – AUSA Okula’s

argument that all of the tax shelter fees received by J&G from Paul Daugerdas’ clients were

segregated in the J&G Ill. account at Bank of America.




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        Under these circumstances, the knowledge regarding the J&G bank records obtained by

the government in the E&Y investigation – and, even more significantly, the availability of the

complete, unredacted bank records – should be “imputed” to the government in the Daugerdas

criminal case, regardless of AUSA Okula’s unsworn assertion that he does not recall reviewing

the April 2007 production of bank records from the E&Y investigation. See United States v.

Avellino, 136 F.3d 249, 255 (2d Cir. 1998); United States v. Nejad, 487 F. Supp. 3d 206, 2020

U.S. Dist. Lexis 169686*, 2020 WL 5549931 (S.D.N.Y. Sept. 16, 2020).

   3. Relevance and Prejudice

        The government’s assertion that the complete bank statements are not “relevant” to the

Petitioners’ claims is absurd. Clearly, they would show, one way or the other, the correctness or

not of Petitioners’ “information and belief” allegations that the funds deposited to the J&G

Illinois account were transferred out and used by J&G to support its overall operations during the

year, prior to being returned to the J&G Illinois account at the end of the year for the distribution

to Paul Daugerdas of the balance of his compensation for the year. Indeed, it was the

government’s recognition of the relevance of these documents that led it to agree to produce

them when requested by Petitioners’ counsel at the July 2018 conference with the Court, leading

to the Court’s order that it do so. See Transcript of July 25, 2018 Conference (Docket No. 939),

p. 4, line 11 to p. 5, line 6; p. 8, lines 16-21.

        Moreover, the government’s argument in its letter reveals a fundamental fallacy and

glaring hole in the proof on which it relies. Thus, the government claims that its “initial review

of the 2007 DPW Production reveals that . . . the J&G Illinois Account . . . received payments

from Paul Daugerdas’ tax shelter clients as contemplated by the J&G Administrative Services

Agreement . . . .” Gov. Ltr. at 5. In fact, the selected and redacted bank records do not, and

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cannot, show that the tax shelter fees were, in fact, deposited to the J&G Illinois Account in

accordance with the J&G Administrative Services Agreement, as opposed to being deposited

into one or more of the other J&G bank accounts from which multiple payments were made to

Paul Daugerdas throughout the relevant years. The mere fact that the J&G Illinois Account had

a large enough balance to make the sizable transfers to Paul Daugerdas at the year-end does not

show when those balances came about, or that they were the result of the direct deposit into that

account of the tax shelter fees when received by J&G. See DeVita Dec. III ¶¶ 11-12.

       Similarly, even assuming the tax shelter fees were initially deposited into the J&G Illinois

Account when received by J&G, the government’s failure to preserve the full bank statements

deprived petitioners of the ability to demonstrate whether there were significant transfers out to

the other accounts of J&G for the support of J&G’s overall operations that resulted in

commingling of those funds with untainted funds. 4 Thus, Petitioners have clearly been

prejudiced by the government’s failure to preserve the records, and the Court should “plac[e] the

risk of erroneous evaluation of the content of the destroyed evidence on the party responsible for

its destruction [i.e., the government],” and “restor[e] the party [i.e., Petitioners] harmed by the

loss of evidence helpful to its case to where the party would have been in the absence of the

spoliation.” In re Pfizer Inc. Sec. Litig., 288 F.R.D. 297, 313 (S.D.N.Y. 2013), cited at Gov. Ltr.

at 6. The sanction of an adverse inference where the culpable conduct is only “negligent” may




4
 According to the former Executive Director of J&G Texas, at times there were transfers
between the J&G Illinois and J&G Texas accounts and, to the extent that funding was required
for payment of major expenditures or year-end compensation, payments were made by J&G
Texas. Declaration of Roger Hayse dated May 3, 2019, DeVita Dec. III Ex. C.

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be appropriate “because each party should bear the risk of its own negligence.” Residential

Funding Corp. v. DeGeorge Financial Corp., supra, 306 F.3d at 108.

       Furthermore, the government disregards the point that where (as is likely the case here)

the culpability rises to the level of gross negligence, that conduct alone can suffice to support

prejudice. Moreover, as the Second Circuit held in a case involving nonproduction of evidence,

a “judge’s finding that a party acted with gross negligence or in bad faith with respect to

discovery obligations is ordinarily sufficient to support a finding that the missing or destroyed

evidence would have been harmful to that party, even if the destruction or unavailability of the

evidence was not caused by the acts constituting bad faith or gross negligence.” Residential

Funding Corp. v. DeGeorge Financial Corp., supra, 306 F.3d at 113.

B. The Appropriate Sanctions for the Government’s Violations of the July 2018 Discovery
Order and the Duty to Preserve Evidence
       The Court’s July 2018 Order directed the government to search for and produce the J&G

bank records for petitioners’ use in preparing the amended petition called for by the Second

Circuit’s decision reversing the earlier dismissal of the original petition. It is undisputed that the

government failed to comply with that order in a timely fashion – i.e., prior to the filing of the

amended petition. In March 2019, the government represented that it tried to locate the bank

records and had “confirmed” that it does not have them. DeVita Dec. I, at p. 5 and Ex. D. That

representation turned out to be inaccurate. As shown by the document production made to the

government by J&G’s counsel pursuant to grand jury subpoena in April 2007, which was

belatedly produced to petitioners’ counsel by the government on November 30, 2020, the

government in fact had possession of redacted copies of about 400 pages of J&G bank records

since April 2007. The government still has not complied with the Court’s Order since it has not



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produced the complete, unredacted bank records. The issue now before the Court is the

appropriate sanction for violation of the July 2018 order.

       The government disputes petitioners’ position that the government has violated the duty

to preserve evidence. However, for the reasons set forth in subdivision A above, with respect to

the unredacted bank records that the government has still failed to produce, petitioners have

shown that the government violated its duty to preserve evidence. At each of the following

times, the government: 1) knew of the significance of the J&G bank records; 2) had possession

of redacted J&G bank records produced to it in April 2007 that belied the factual representations

it made to the Second Circuit to uphold its contention that there was no commingling of funds;

and 3) had control of unredacted J&G bank records material to its contention of no commingling

of funds:

       ● June 2009 when it applied ex parte for a seizure warrant for financial accounts
       allegedly owned or funded by Paul Daugerdas, including accounts in petitioners’ names; ;
       ●August 2012 when it submitted its opposition to defendant Paul Daugerdas’ motion to
       vacate the restraining order (which sought vacatur on the ground that the funds were not
       segregated in the J&G Illinois bank account but were commingled with fees generated by
       numerous other J&G lawyers for services provided to their clients, Doc. No. 545 filed on
       August 8, 2012);
       ●June 2014 when it applied for and obtained a preliminary order of forfeiture, which
       defendant Paul Daugerdas opposed on the ground that the funds were not segregated and
       were commingled with the general receipts of J&G (Doc. No. 831 filed on June 23,
       2014);
       ●July 2015 when it represented in its brief to the Second Circuit that the funds were not
       commingled but were deposited to and segregated in the J&G Illinois bank account at the
       Bank of America (at that time, petitioners’ initial petition in this ancillary proceeding had
       been filed on August 29, 2014, the government had moved to dismiss the petition, and the
       matter was held in abeyance pending the Second Circuit’s determination on the appeal in
       the criminal case);
       ●July 2018 when the district court directed that it search for and produce the J&G bank
       records for use by petitioners in preparing an amended complaint; and



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       ●March 2019 when it represented that it tried to locate the J&G bank records and had
       confirmed that it did not have them, and moved to dismiss the amended petition on the
       ground that its allegations of commingling were insufficient as a matter of law.
Yet at no time during this decade-long period did the SDNY prosecutors take steps either to

direct J&G or its counsel DPW to preserve the J&G bank records or to take possession of and

preserve the bank records themselves. Thus, we address the issue as to the appropriate sanction

for this longstanding continuing violation of the duty to preserve evidence.

1. The Appropriate Sanction for Violating the July 2018 Discovery Order

       Where, as here, a party has violated a discovery order by failing to produce documents in

a timely fashion, the district court has “broad discretion in fashioning an appropriate sanction,

including the discretion to delay the start of a trial (at the expense of the party that breached its

obligation), to declare a mistrial if trial has already commenced, or to proceed with a trial with an

adverse inference instruction.” Residential Funding Corp. v. DeGeorge Financial Corp., supra,

306 F.3d at 101, 112-113. Such broad discretion includes: 1) delaying the next stage of the case

to allow a party to pursue a motion for sanctions with the benefit of discovery on issues relating

to breach of discovery obligations and culpable state of mind, appropriate depositions, and an

evidentiary hearing if appropriate; 2) upon consideration of the motion, vacating a judgment

already entered in the case where the belatedly produced evidence shows that the party was

prejudiced by the failure to timely produce the evidence; and 3) awarding costs including legal

fees caused by the failure to comply with discovery obligations. Id. at 112. Such sanctions are

appropriate in this case.

       Here, the preliminary order of forfeiture was upheld by the Second Circuit on the basis of

factual inaccurate representations made by the government in its Brief on Appeal and adopted by

the Second Circuit in its decision. Significantly, as shown in subdivision A(2) above, the

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belatedly produced bank records clearly show that those factual representations made by the

government to the Second Circuit were demonstrably untrue and misleading in several material

respects. See pp. 10-11, supra.

       Indeed, the government is constrained to acknowledge that the belatedly produced bank

records from the April 2007 production show that at least $10 million of the payments to Paul

Daugerdas were made from different J&G bank accounts than the J&G Illinois bank account at

the Bank of America relied on by the government in its criminal forfeiture case. Gov. Ltr. at 5;

see DeVita Dec. III ¶ 24. 5 In short, those funds were not segregated from the general receipts of

J&G and paid to defendant Paul Daugerdas from that J&G Illinois bank account as the

government represented to the Second Circuit. While the forfeiture order may be “final” as to

the criminal defendant, it is only “preliminary” as to petitioners under the express provisions of

Fed.R.Crim.Pr. 32.2(b)(4). Accordingly, upon this motion for sanctions, the preliminary order of

forfeiture should be vacated as to petitioners with respect to the millions of dollars of payments

made from different J&G bank accounts than the J&G Illinois bank account at the Bank of

America.

       This point is further supported by the Second Circuit’s treatment in United States v.

Watts, 786 F.3d 152, 163-64 (2d Cir. 2015), of the government’s criminal forfeiture claim

against a third-party account holder (USW) arising from a preliminary order of forfeiture in a

criminal case. In Watts, the Court ruled that the government’s criminal forfeiture claim against

the funds in USW’s account at Chase, as property subject to criminal forfeiture as proceeds of



5
 Significantly, even with respect to the payments that were made from the J&G Illinois bank
account at the Bank of America, as previously discussed, the government has not presented
evidence in this ancillary proceeding showing that the payments were made from segregated
funds that had not been commingled with J&G’s general receipts.
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the crime, gave the government an independent legal claim to the funds that was “superior” to

any claims to the funds by the criminal defendant. That criminal forfeiture claim to the USW

Chase funds in turn gave the government a criminal forfeiture claim against the account holder

of such funds (USW), regardless of whether the account holder was charged in the criminal case

or was a party to the criminal trial, provided and to the extent that the funds were “properly

subject to” the preliminary order of forfeiture. Watts, 786 F.3d at 163-64.

        Thus, in the case at bar, the government has a criminal forfeiture claim against the

account holders of the funds at issue (petitioners herein) only to the extent that the funds are

“properly” subject to the preliminary order of forfeiture in the criminal case. Plainly, where as

here the preliminary order of forfeiture was obtained on the basis of factual representations by

the government now shown to be untrue and misleading based on bank records that were then in

the possession of the government, the funds are not “properly subject to” the preliminary order of

forfeiture.

        In the criminal case against Paul Daugerdas, the government did rely on approximately

$60 million dollars in year-end payments made from the J&G Illinois account at the Bank of

America to Paul Daugerdas in December 1999 and December 2000. However, in this ancillary

proceeding the government has not presented evidence from the criminal case showing that those

payments were made with funds that had been deposited to that J&G Illinois account by tax

shelter clients of Paul Daugerdas and that had remained in the account segregated from the

general receipts of J&G until the year-end payments were made. See pp. 10-12, supra. Thus,

the funds at issue here are not “properly subject to” the preliminary order of forfeiture. Since that

is the case, the preliminary order of forfeiture should be vacated in its entirety as to petitioners.




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   2. The Appropriate Sanction for Violating the Duty to Preserve Evidence

       In Residential Funding Corp. v. DeGeorge Financial Corp., supra, 306 F.3d at 101, 112-

113, the Second Circuit addressed the range of sanctions that may be appropriate under the

district court’s broad discretion. See also West v. Goodyear Tire & Rubber Company, 167 F.3d

776, 779-780 (2d Cir. 1999) (discussing sanctions ranging from outright dismissal to a

presumption or adverse inference against the spoliator’s contention, and/or precluding the

spoliator from offering evidence in support of its position). As the Second Circuit stated in West,

it “has long been the rule that spoliators should not benefit from their wrongdoing,” id. at 779.

                After discovery on the issues relating to the duty to preserve evidence, we will be

more specific as to the sanctions within the court’s broad discretion that would be appropriate in

this case. Suffice it to state now that even in the absence of bad faith, the government’s violation

of the duty to preserve evidence should at the very least be subject to sanctions that include

discovery on the issues relating to a duty to preserve evidence, an adverse inference or

presumption against the government’s position that there was no commingling of funds, an order

precluding the government from introducing evidence in support of its position that there was no

commingling of funds, and an order requiring the government to pay reasonable expenses

including legal fees caused by its failure to preserve and timely produce the J&G bank records.

                                            Conclusion

       The government was in a unique position to preserve the evidence at issue on this motion,

which was under its constructive control since at least April 2007. It had served one or more

grand jury subpoenas covering it, and at least by the time it applied for and obtained a warrant

restraining the assets in petitioners’ names, it either recognized the relevance of that evidence to


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the forfeiture issues it was raising, or should have recognized it. Petitioners, on the other hand,

had no opportunity to act to obtain or preserve the evidence. They were precluded by law from

pursuing any remedy to protect their interests in the property until after the entry of the

preliminary order of forfeiture in June of 2014. 21 U.S.C. § 853(k). Even thereafter, the

Petitioners’ ability to obtain and preserve the evidence was proscribed by the government’s

motion to dismiss the initial petition; the Court’s initial grant of that motion; the pendency of the

appeal from that dismissal; and the government’s second motion to dismiss the amended petition.

At the earliest possible opportunity, at the July 2018 status conference following the Court of

Appeals’ reversal of the dismissal of the original petition, Petitioners’ counsel asked the

government to produce the relevant bank records and the Court ordered them to do so. The

Court should, at the very least, permit petitioners to conduct discovery, including depositions of

the current and former government officials from the United States Attorney’s Office and the

IRS with knowledge of the facts. Upon conclusion of that discovery, the Court should grant

petitioners relief that will restore them to the position they would have been in had the

government complied with the Court’s July 2018 Order and fulfilled it obligation to preserve

evidence.

Dated: April 30, 2021
       White Plains, New York

                                               s/ James R. DeVita___
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